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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                   7    IN RE:                                              Case No. 13-md-02420-YGR (DMR)

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                                        LITHIUM ION BATTERIES ANTITRUST                     ORDER TO SUBMIT SUPPLEMENTAL
                                   9    LITIGATION                                          INFORMATION
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                                  12
Northern District of California
 United States District Court




                                  13          In the parties’ October 21, 2014 joint case management statement, the parties set forth

                                  14   competing proposals regarding modifications to discovery limitations. Plaintiffs proposed, in part,

                                  15   that the number of interrogatories authorized under Federal Rule of Civil Procedure 33(a) should

                                  16   be modified “to allow Plaintiffs collectively to serve 60 interrogatories on Defendants.”

                                  17   Defendants indicated that they “agree that Plaintiffs (i.e., DPPs and IPPs collectively) should be

                                  18   limited to service of a total of 60 interrogatories on Defendants.” [Docket No. 518 at 16, 17.] It is

                                  19   unclear whether the parties’ agreed-upon proposal is to allow Plaintiffs collectively to serve 60

                                  20   interrogatories on each Defendant family, or if the parties propose that Plaintiffs collectively

                                  21   should be limited to 60 interrogatories on Defendants collectively. By no later than 9:00 a.m. on

                                  22   March 10, 2015, the parties shall submit a brief letter clarifying this point.

                                  23

                                  24                  IT IS SO ORDERED.

                                  25   Dated: March 9, 2015

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                                  27                                                                 ________________________
                                                                                                     DONNA M. RYU
                                  28                                                                 United States Magistrate Judge
